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EXHIBIT 3
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IN THE UNITED STATES DISTRICT COURT
_FOR THE DISTRICT OF MASSACHUSETTS:

IN RE: . . Videotape
NEURONTIN MARKETING, SALES  : Deposition of:
PRACTICES AND PRODUCTS :

LIABILITY LITIGATION : MICHAEL TRIMBLE

THIS DOCUMENT RELATES TO:
Smith, et al. v Pfizer, et al.

Case No. 05-cv-11515-PBS

TRANSCRIPT of testimony as taken by and
before PATRICIA A. SANDS, a Shorthand Reporter
and Notary Public of the States of New York and
New Jersey, at the offices of Lanier Law Firm,
126 East 56th Street, New York, New York, on
Tuesday, September 2, 2008, commencing at 9:15 >

in the forenoon.

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Page 150 Page 152 :
1 A Yes. Yes. 1 any research on human suicide behavior? :
2 Q_ Were those the end points that you 2. Clinical studies?
3 were looking at? 3 A Only in relationship to hostility and
4 A_ Those were the end points that we 4 depression in relationship to antiepileptic
5 looked at, yes. 5 drugs.
6 Q_ And how many patients? 6 Q- So hostility and depression were the
7 A Well, we had 4 out of -- 4 out of, 7 end points you were looking at?
8 a--I haven't got the figures in front of me, 8 A Correct.
9 maybe 4 out of 300 people who committed quite 9 Q_ And none of those studies deal with
10 serious aggressive acts on that particular 10 Neurontin; correct?
11 drug. 11 A We have not specifically studied
12 Q_ And was your result statistically 12 Neurontin.
13 significant? 13 Q You have not done any research, you,
14 A_ No, these -- 14 yourself, have not done any clinical research
15 Q_ Or the result of this paper, since 15 or Neurontin; correct?
16. you weren't an author. 16 A Correct.
17 A_ These were four case histories from a 17 Q_ Have you, Professor Trimble, authored
18 larger cohort on which we published papers 18 any peer reviewed publications in the
19 which I was the author. 19 specialized area of suicidology?
20 Q So this is a case series? 20 A No.
21 A Correct. 21 Q_ And you are not a member of the
22 Q_ Authored by someone else about four 22 American Association of Suicidology; correct?
23 cases -- 23 A Correct.
24 A Correct. 24 Q_ And you don't attend the
25 Q_ -- of aggressive acts with 25 association's meetings; correct?
Page 154 Page 153 |)
1 Levetaricetam? 1 A Correct.
2 A Correct. 2 Q Are you familiar with American
3 Q_ And were any of those aggressive acts - 3 Psychiatric Association's practice guidelines
4 suicide? 4 for the assessment and treatment of patients
5 A Yes. 5 with suicidal behaviors?
6 Q How many? 6 A Ihave read them.
7 A Well, attempts. I don't recall. I 7 Q__Do you ascribe to the principles set
8 don't recall. The paper's just come out. I 8 out in the APA guidelines on assessment and
9 don't recall. I don't have it in front of me. 9 treatment of suicide?
10 [just don't recall. 10 AT accept them.
11 Q_ Well, it's only four patients, li Q__Do you use the APA guidelines in your
12. Dr. Trimble, you don't know? 12 clinical practice?
13 A Well, it's a little difficult 13 A No.
14 sometimes to determine when an aggressive act 14 Q_ Do you have any patients currently
15 is a suicidal act. Suicide act. 15 with active suicidality?
16 Q__Do the authors of this paper state 16 A No.
17 that Levetaricetam caused suicide in any of 17 Q_ When was the last time you treated a
18 these four? 18 patient who had suicidality?
19 A_ No, they are not completed suicides. 19 A Probably when I was working within
20 They are aggressive acts of self harm. 20 the National Health Service, so we are talking
21 Q_ All four were acts of aggressive self 21 four or five years ago.
22 harm? 22 Q. And I take it the focus of your
23 A Correct. 23 practice at the National Health Service was not
24 Q Other than that article, which you 24 on patients with active suicidality?
25 did not author, have you, yourself, conducted 25 A Well, we had people with epilepsy

   
    
  
   
    
 
  
  
  
  
  
  
  
 
 

  

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40 (Pages 154 to 157)

 

Page 154 Page 156 |;
1 with serious psychiatric disorders which are i you have now, patients that would come to the
_2_ risk factors for suicide. 2 clinic were not, quote unquote, your patients,
3 Q. Sure. 3 did you have your own stable of patients that i
4 A So, well aware of assisting that. 4 saw you repeatedly for psychiatric care, or ;
5 Q_ Sure, but they're coming -- those 5 were they people who came into a clinic and had |
6 patients at the National Health Service came to 6 apsychiatric disturbance or a neurologic
7 see you, Professor Trimble, for your expertise 7 disturbance and they were hospitalized?
8 in epilepsy; correct? 8 A No, I saw and followed up many
9 A Epilepsy and psychiatric disorders 9 patients for many years as outpatients. i
10 combined; correct. 10 Q So they would just come back to see
11 Q If you had a patient with active 11 you at the clinic?
12 suicidality, did you typically refer that 12 A Correct.
13 patient to a psychiatrist? 13 Q_ Okay, I see. So were you actively |
14 A_ No, I had beds, my own beds. I would 14 treating patients in psychiatry with
15 admit them to the neuropsychiatry ward, which I | 15 psychiatric illness?
16 had access to. 16 A Correct.
17 Q_Sois it like in the US, where you 17 Q_ And diagnosing people with
18 have admitting privileges? 18 depression?
19 . A Correct. 19 A Correct.
20 Q_ And you're admitting them into the, 20 Q_ And prescribing antidepressants?
21 uhm, for lack of a better term, government 21 A Correct.
22 hospital in England? 22 Q_ And did you use the DSM4 to diagnose
23 A Correct. 23 depression?
24 Q_ Okay. And during your years at the 24 A Asaclinician I don't need a
25 National Health Service, did you, was your 25 cookbook to instruct me how to make a clinical
Page 155 Page 157
1 practice solely as an inpatient physician? 1 diagnosis.
2 Where you a hospital doctor? 2 Q_ Soin your view the DSM¢4 is a bit of
3 A_ I was a hospital doctor with 3. a cookbook?
4 inpatient and outpatient practice. 4 A Itis acookbook. —
5 Q Okay. So when would you refer a 5 Q_ And clinicians -- is it your view
6 patient to a psychiatrist? 6 that clinicians don't typically rely on the
7 A_ Well, I am personally a psychiatrist 7 DSM4 in diagnosing mood disorders such as
8 as well as a neurologist. So the only time 8 depression?
9 would be if that -- if we were unable to cope, 9 A Inthe United kingdom they do not
10 on our ward, with the hostile aggressive or 10 rely on an American diagnostic manual.
11 suicidal behavior of a particular patient, then 11 Q_ So you, yourself, have never used the
12 we would refer to a more secure unit. 12 DSM4 in terms of diagnosing patients with
13 Q_ What about in your outpatient 13 depression?
14 __ practice, I'm not clear on what your outpatient 14 A Well, I have, but I prefer not to.
15 practice was. What was it? 15 Q Well, when have you?
16 A_ Assessing people largely with 16 A Uhm, many settings -- well, a fe
17 neurological disturbances who had psychiatric 17 the courts in England have got quite, uhm, ah,
18 comorbidities. 18 tied into DSM4.. So one is often asked for a
19 Q_ Ina clinic? 19 DSMé4 diagnosis. So I would use a DSM4
20 A Correct. 20 diagnosis.
21 QA hospital clinic? 21 Q So you use a DSM4 diagnosis only when
22 A Correct. 22 you're preparing to testify in court?
23 Q_ Okay. So did you have primarily - 23 A No, no, but sometimes insurance
24 well, let me say it this way: 24 companies want it, sometimes other agencies
25 Unlike a private practice, such as the one 25 wantit. But, again, just to be very clear, in

 

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48 (Pages 186 to 189) _

 

Page 186 Page 188 |:
1 Is there anything else that you rely on i A Canyou just say that again. Or read f
2 for your opinion that hopelessness is not a 2 that back. :
3 short-term risk factor? 3 Q Do you agree that problematic coping
4 A_ Hopelessness, in and of itself, is 4 skills are common among those who die by .
5 not a short-term risk factor for suicide. 5 suicide? Hl
6 Q_ And my question is: Other than this 6 A May Task you what you mean by :
7 paper as part of Exhibit 8, is there anything 7 "problematic"? - H
8 else that you rely on for that opinion? 8 Q Difficulty coping.
9 A_ No, I rely on that paper. 9 A __ Difficultly coping, probably yes. :
10 Q_ Okay, thank you. In general, do you 10 Q It would be more likely than not; ;
11 agree that patients with high levels of 11 correct? |
12 hopelessness have ¢ an increased risk for future 12 A Suicide suggests that, yes.
13 suicide? 13 Q Is low self-esteem a risk factor for b
14 A_ The paper you've just referred to 14 suicide? |
15 does refer to future suicide; namely, as a 15 A Not to my knowledge. H
16 long-term risk factor rather than as a 16 Q__ Did you look at the literature on
17 _ short-term risk factor. 17 that?
18 Q__Does hopelessness predict suicide 18 A Well, it may relate more to the.
19 ideation better than depression? 19 younger suicides really than the older
20 A I don't know. 20 suicides, but I did not specifically look at
21 Q__ Did you look at the literature on 21 the literature on that.
22 that? 22 Q_ Is unemployment a risk factor for
23 A No. 23 suicide?
24 Q__Do you agree that for patients with 24 A Yes.
25 depression, hopelessness has been suggested to 25 Q_ Is chronic pain a risk factor for
Page 187 Page 189 |)
1 be the factor that explains why some patients 1 suicide? i
2 choose suicide whereas others do not? 2 MR. FINKELSTEIN: Objection. :
3 A Again, could you break it down in two 3 Asked and answered. :
4 questions, please. 4 THE WITNESS: Unemployment, in and of |;
5 Q_ No, I can't. Do you agree that for 5 itself, is not a risk factor for suicide. ;
6 patients with depression, hopelessness is 6 And chronic pain, in and of itself, is not 2
7 suggested as the factor that explains why some 7 a risk factor for suicide.
8 patients choose suicide and others do not? 8 BY MS. McGRODER: i
9 A TI would accept that, yes. 9 Q Did you look at the literature on i
10 Q_ Do you agree that hopelessness often 10 unemployment and suicide in order for you to |
11 occurs in concert with depression as a state 11 give the opinion that unemployment is not, in
12 dependent characteristic? 12 and of itself, a risk factor for suicide? H
13 A Yes. 13 A_ I looked at the literature on risk :
14 Q__Do you agree that some individuals 14 factors for suicide. :
15 experience hopelessness on a primary and more 15 Q_ And employment is not listed? ‘
16 enduring basis? 16 A Unemployment, in and of itself, does
17 A Yes. 17 not emerge as a risk factor for suicide. :
18 Q Do you agree that hopelessness 18 Q_ And that's your opinion also about i
19 represents a distinct phenomenon that can arise 19 chronic pain, chronic pain is not, in and of :
20 separately from mood disorders and occurs 20 _ itself, a risk factor for suicide? /
21 across psychiatric diagnoses? 21 A Iwill repeat. Chronic pain, in and H
22 A Yes. 22 of itself, is not a risk factor for suicide.
23 Q_ Do you agree that problematic coping 23 Q_ Are you aware that consistent H
24 — skills are common among those who die by 24 psychological themes emerge in suicide notes? ,
25 suicide? 25

A Themes? ;

 

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Page 190 . Page 192 i
1 Q Yes. 1 BY MS. McGRODER: .
2 A Yes. 2 Q_ Professor Trimble, would you agree
3 Q_ Are you aware that the clearest of 3 that individuals with the characteristics of
4 these themes.is "I can't stand the pain any 4 elderly, white and male have a higher rate of
5 longer"? 5 suicide than people who do not have those
6 A No. 6 characteristics? - ,
7 Q Does that surprise you? 7 A There is more suicide in elderly
8 A_ Well, do you think that's referring 8 white males than in the rest of the population,
9 _ to physical pain or to mental pain? 9 yes.
10° Q_ Do you know? 10 Q_ Do you-know what percent of
11 A No. 11 individuals over the age of 65 who complete
12 Q Is being an elderly white male a risk 12 suicide are male? ,
13 factor for suicide? 13 A_ What percentage? Uhm, it’s greater
14 A_Inand of itself, being an elderly 14 than female, that age group. But I don’t know
15 white male is not a risk factor for suicide. 15__ the exact percentage.
16 Q_ And you know that how? 16 Q__ Did you know that 80 percent of those
17 A There are a large number of elderly 17 over the age of 65 who commit suicide are male?
18 white males alive and well, and not going to 18 A That's probably the figure that I
19 commit suicide in the United States. 19 would accept, yes. :
20 Q__ Have you looked at the APA guidelines 20 Q__Do older individuals make more or |
21 ona risk factors for suicide with respect to 21 less suicide attempts per completed suicide?
22 demographic characteristics like elderly white 22 A They -- than? :
23 male? 23 Q_ Than the general population?
24 A I'm aware of that. 24 A Who don't -- who don't commit :
25 Q_ Sodo you disagree that elderly white 25 suicide. Could you repeat the question. :
Page 194 Page 193 |,
1 males are at an increased risk of suicide? 1 Q__ Do older individuals make more or 1
2 A Being an elderly white male, in and 2 less -- well, actually it wouldn't be the F
3 of itself, does not increase the risk of 3 general population. |
4 suicide. 4 Do older individuals make more or less :
5 Q Is the suicide rate for elderly males 5 suicide attempts per completed suicide?
6 higher or lower than other age groups? 6 A Than --
7 A It's actually higher, but this 7 Q_ Than other individuals who make
8 picture may be changing, as I've already 8 suicide attempts?
9 emphasized. But it is higher. 9 A The answer would be yes.
10 MR. FINKELSTEIN: I'm not cutting you 10 Q_ And so older individuals have fewer
1i off, it's just that we're going an hour, 11 attempts per completed suicide; correct?
12 if you only have a few more, because we're 12 A Uhm--
13 going to break for lunch -- I just see a 13 Q Older individuals less often attempt
i4 big stack in front of you. 14 suicide --
15 - MS. McGRODER: Yeah, let's go ahead 15 A_ Oh, yes, of course.
16 and break. 16 Q_ -- before they complete suicide?
17 THE VIDEO OPERATOR: Please standby. 17 A Yes, of course. Yes.
18 We are going off the record, the time 18 Q_ Are older individuals more or less
19 is 1:13 p.m. This concludes videotape 19 likely to directly communicate their intent to
20 number 3. 20 die compared to other age groups?
21 (Lunch recess.) 21 A No.
22 THE VIDEO OPERATOR: Standby. 22 Q_ And so you agree that older
23 We are back on the record, the time 23 individuals are less likely to directly
24 is now 2:07 p.m. This is the beginning of 24 communicate their intent to die?
25 tape number 4. 25 A Yes.

 

   
   
  
   
    
   
  
  
 
  
  
  
 

 

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49 (Pages 190 to 193)

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Page 202 Page 204 |,
1 Q Can I stop you just for one second? 1 QI think that would then be page 3a?
2 Did you do this analysis before you 2 A The 3a, I have listed the risk ‘
3 authored your report in this case, or are you _3- factors that I'm going to give in answer to ‘
4 just doing this now, just right now at this 4 your question in a moment. 4
5 deposition? 5  Q Let me -- can I just ask you :
6 A I'm doing this analysis specifically 6 something about 3a?
7 to answer your question for this deposition. 7 A Uhm hmm. ;
8 Q_ At any time before I asked you this 8 Q My question is: The Xs and check :
9 question had you done this analysis? 9 marks that you have on 3a next to risk factors i
10 A OnMr. Smith's risk factors, yes. 10 under the titles Jacobs and Rothschild, do :
11 Q_ Okay. And apart from what Dr. Jacobs 11 those pertain specifically to the Smith case? Lo
12 wrote, have you written notes about your 12 A Correct. LE
13 analysis of Mr. Smith's risk factors? 13 Q_ Okay, so when did you prepare that |
i4 A Inhere. 14 list? Do you know? - !
15 Q You have? 15 A Yes, I prepared this before coming :
16 A Yeah. 16 over on the airplane. The weekend. :
17 Q_ Can you point me to those notes? 17 Q_ Okay, so just last weekend? i
18 A Well, you have copies of these. 18 A Correct. H
19 Q_ Yes, can you point me to the page in 19 Q_ Okay, thanks. :
20 those notes where you conducted this same 20 A And then there is more on the risk |
21 analysis? ; 21 factors on page 7, from the textbook chapter
22 A_ Well, a similar analysis. I've been 22 from the APA, Dr. Simon.
23 through -- well, here's a page where I list 23 And I quoted other risk factors. The
24 Dr. Jacobs, which I'm going to read to you in a 24 Fawcett paper, which you have there. Page 8
25 moment. There is Dr. Simon, his risk factors. 25 discusses preventative factors, those which
Page 203 Page 205 }:
1 Dr. Fawcett's risk factors. 1 tend to be against somebody, ah, killing 2B
2 I have got several lists of risk factors 2 themselves.
3 written here, which you are welcome to look at 3 Q_ And where did you get the
4 later on. 4 preventative factors? H
5 Q_ Okay, and thank you. I'm wondering 5 A That would have come from the chapter
6 if, for example -- I think if you just -- we'll 6 by Dr. Simon. And then I don't think there |
7 count these pages. One -- count only the pages 7 is any more on risk factor -- oh, here's |
8 with the writing on them, how would that be? 8 risk -- well, that's just on Mr. Smith's own i
9 A Well, why don't you-number those. 9 case.
10 Q_ That would be awesome. And since 10 Q_ And the risk factors on page 11 from EF
11 you've written on the backside of certain 11 Mr. Smith's own case, how did you derive those
12 pages-- — 12 risk factors? i
13 A Yes, 13 A Well, these are from his notes. ;
14 Q_ Shall I just number the backside as 14 Q_ Mr. Smith's notes? A
15 well? 15 A Yeah. Well, I mean in terms of what
16 MR. FINKELSTEIN: Why don't you let 16 other risk factors that he did or didn't have. :
17 him number them. 17 Q_ That you took from his medical :
18 MS. McGRODER: Sure. 18 records do you mean? I guess I'm not - i
19 A T'll number them. 19 A From my knowledge of Mr. Smith's
20 Q_ Okay. That way we'll have 20 _ history.
21 a better -- 21 Q_ Okay.
22 A_ That will make it easier for you. 22 A_ And his medical notes.
23 Q_ -- reference point. _ 23 Q When you say his notes, what are you
24 A So will put 1a on the back of -- 24 referring to?
25 (Numbering pages on notebook.) 25 A Medical notes.
52 (Pages 202 to 205)

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Page 214 Page 216 |:
1 you identified and ruled out -- 1 A And I need some time to read.
2 A Correct. 2 Q Sure.
3 Q_ _-- in your differential diagnosis of 3 A _ If you don't mind.
4 Mr. Smith? 4 Q_ Take as long as you need.
5 A In my differential diagnosis of 5 A Butit's a long time since I looked
6 Mr. Smith, correct. 6 atthese. So it's dealing with page 12.
7 (Exhibit 16 marked for 7 (Reviewing document.) Am I allowed to mark
8 identification.) 8 this?
9 BY MS. McGRODER: 9 Q Sure.
10 Q_ I'm handing you, Professor Trimble 10 A Okay. (Reviewing document.) All
11 the APA guidelines -- 11 right.
12 A Thank you. 12 Okay, so to answer your question, these
13 Q_ -- marked as Exhibit 16. And those 13 are not set out in tablets of stone. It's made
14 are just the relevant pages, because as you 14 clear by use of the terms such as "may," so
15 know, the guidelines are rather voluminous. 15 "these factors may be associated," not "are
| 16 A Correct. 16 associated," so that leaves the issue open.
17 Q_ Those are the pages I wanted to ask 17 The text also says that:
18 you about. You understood on page 12, do you 18 "In determining whether a particular
19 understand these -- under table 4 -- these to 19 stressor may confer risk for suicidal behavior,
20 be the independent risk factors identified by 20 it is necessary to consider the perceived
21 the APA for increased risk of suicide? 21 importance and meaning of life event for the
22 A Yes, I accept that. 22 individual patient."
23 Q_ Okay. And there's just a few I want 23 And it says on page 12, which you've
24 to ask you about. If you look on the left-hand 24 handed me:
25 column under “physical illness." 25 "It is the quintessential clinical
Page 215 . Page 217 :
1 A Yes, 1 judgment, since no study has identified one 5
2 Q__Do you see pain syndromes? 2 specific risk factor or set of factors as
3 A Yes. 3 specifically predictive of suicide or other
4 Q_ Pain syndromes, in and of themselves, 4 suicidal behavior."
5 increase the risk of suicide according to the 5 That is a summary of my view on the
6 APA guidelines; correct? 6 relationship between the factors you've asked
7 A __ It says factors associated with 7 me about, and suicide. And I will just repeat
8 increased risk of suicide. My statement is 8 it so that it's clear.
9 that pain syndromes, in and of themselves, do 9 Q_ No, it's clear. Let me ask you a
10 not increase the risk of suicide. Pain 10 couple of follow-up questions --
11 syndromes are so common that you cannot claim =| 11 A "No study --"
12 pain syndromes, in and of themselves, are 12 Q_ -- sO we can move on.
13 related to suicide. But it is on the list, of 13 A Okay. All right.
14 course. 14 Q_ Professor Trimble, if you look on
15 Q__Do you understand that the APA list 15 page 13, the paragraph that describes table 4.
16 of factors associated with an increased risk 16 A Yes.
17 for suicide, as represented in table 4, are 17 Q Do you see the first paragraph there?
18 risk factors that independently, in and of 18 A Yes.
19 themselves, increase the risk for suicide -- 19 Q. Table 4, which is the risk factors
20 that's how they made the list; do you 20 we've been discussing, provides a list of
21 understand that? 21 factors that have been associated with
22 A No, I don't understand that. Could I 22 increased suicide risk. Do you see that?
23 have the full text, so I can understand how 23 A Yes.
24 this list was, ah -- 24 Q_ And do you know, Doctor, or Professor
25 Q_ (Handing over document.) 25 Trimble, that the factors identified on table

 
  
   
  
 
   
   
 
    
  
 
 
 
   
  
   
   
   

 

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55 (Pages 214 to 217)

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his mental state has to be included as the

 

 

A Of course not.

, Page 266 Page 268 |}
1 A Well, I read them for the first time 1 potential factor.
2 yesterday. 2 Q_ That's your opinion?
3 Q_ Right. And. in those depositions you 3 A Uhhum.
4 did you not find any testimony of the family 4 Q_ Which is fine. I'm talking about
5 members wherein they stated I did not 5 evidence in the record that he actually :
6 personally observe Mr. Smith take Neurontin, 6 ingested Neurontin. And we've talked about I
7 you didn't see that in those depositions you 7 Mr. Smith's deposition, we've talked about
8 read yesterday? 8 statements that Mr. Smith made, and that
9 MR. FINKELSTEIN: Objection. 9 Neurontin was in the home; correct?
10 THE WITNESS: I did not observe or I 10 A Correct.
11 did observe? 11 Q_ Anything else?
12 BY MS. McGRODER: 12 A_ Not that I read in the depositions,
13 Q_ Did not. Do you want me to restate 13 no. i
14 the question? 14 Q What was Mr. Smith's Gabapentin level ;
15 A I think so. 15 at the time of his suicide? ;
16 Q In the depositions that you read 16 A Sadly -- well, not sadly. The :
17 yesterday and in the Ruth Smith deposition that 17 autopsy never included any biochemical i
18 you read a year ago, you didn't find any 18 analysis. :
19 references to family members giving testimony 19 Q_ Well, he didn't have an autopsy; did :
20 that they did not personally observe Mr. Smith 20 he? i
21 take Neurontin? 21 A Okay, I'm sorry. Blood was not taken :
22 MR. FINKELSTEIN: Objection. 22 to look to see what -- well, they didn't
23 THE WITNESS: They did not personally 23 measure -- actually it was taken, blood was F
24 observe -- I don't recall any family 24 taken, but they didn't measure Gabapentin. :
25 member saying they did not observe 25 Q Other than a post-mortem blood :
fi
‘|
Page 267 Page 269 |
1 Mr. Smith taking Neurontin. 1 screen -- well, let me articulate it
2 BY MS. McGRODER: 2 differently. fi
3 Q_ Okay, so the evidence that you have 3 Setting aside a post-mortem blood screen
4 that Neurontin was, in fact, ingested by 4 that doesn't identify Gabapentin -- well, i
5 Mr. Smith-:comes from Ruth Smith's deposition 5 withdrawn..
6 testimony? 6 It's true that you have no evidence as you
7 A And his own words, of course. 7 sit here today that Mr. Smith had Gabapentin in
8 Mr. Smith's own words. 8 his body at the time of his suicide? :
9 Q_ Okay, and what else? Anything else? 9 MR. FINKELSTEIN: Objection.
10 A_ The fact that he had the medication, 10 THE WITNESS: There is no evidence i
11 not strong evidence, but he had the medication 11 that Mr. Smith had Gabapentin inside his :
12 athis home. And, well, his own words. 12 body in terms of biochemical evidence, E
13 Q_ Anything else? I just want to make 13 that is correct. i
14 sure we've talked about everything that you 14. BY MS. McGRODER:
15 believe supports your opinion that he took 15 Q_ What was Mr. Smith's active serotonin :
16 Neurontin. 16 level at the time of his suicide? :
17 A Well, there is also the fact that he 17 A Ireally am not even going to :
18 underwent a mental state change, which needs to [18 counsel -- I'm not going to counsel even
19 be explained -- well, after he went on to the 19 answering that question. A
20 Gabapentin, which we know ultimately led to his 20 Q_ You don't know?
21 suicide, so the mental state change, as a 21 A Of course I don't know. :
22 behavioral neurologist, leads me to ask the 22 Q You don't know if he had an increased
23 questions: What was the trigger factor that 23 serotonin level or a decreased serotonin level i
24 lead to these events? And the alteration of 24 at the time of his suicide; do you? :
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Page 270

Q_ You don't know if he had an increased
GABA level or a decreased GABA level at the
time of his suicide; do you?

A_ Of course not.

Q_ At what dose, in your opinion, did
Mr. Smith's GABA level increase enough to cause
a reduction in active serotonin that would have
the clinical effect of making him impulsively
commit suicide?

A You can see changes. Again, this
takes us back to Petroff studies. And if we go
back, Petroff was giving, I think 600 to
900 milligrams in those MRI studies. So you.
can show brain changes in the brain on doses
equivalent to that which Mr. Smith was taking.

Q__ Did any of the patients in the
Petroff study commit suicide?

A_ Some of them were volunteers -- no,
of course not.

Q_ Well, so my question is --

A_ No, they didn't.

Q_ So my question is: What dose does it
take -- what dose did it take in Mr. Smith,
consistent with your theory, that his GABA
level went up and his serotonin level dropped,

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data. I just don't know.

‘a day? L

Page 272 |

A_ I'm not certain what the data sent to
the FDA was, so I don't know if there were
people on 300 milligrams a day within the FDA

Q So as you sit here today, you're not
aware of any peer reviewed published literature
stating that Gabapentin at 300 milligrams a day
can cause suicide?

A No.

Q_ And you're not aware of any peer :
reviewed literature stating that Gabapentin at
900 milligrams a day can cause suicide?

A The dosages in the FDA analysis
included people on 900 milligrams a day. i

Q_ And my question to you is: Are you i
aware of peer reviewed published literature
that concludes that Neurontin, specifically
Neurontin, can cause suicide at 900 milligrams

A Iaccept the FDA review as more
substantial than peer reviewed literature,
because there were 20 peers reviewing those
data.

Q Twenty? Where do you get 20?

A Oh, 21. 21, I beg your pardon.

 

 

 

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so that he impulsively committed suicide? What
dose was required to make that happen and
result in suicide?

A He was on 300 milligrams three times
a day, so we would have to say that was a
necessary and sufficient dose.

Q_ But you have no evidence that he was
taking 300 milligrams three times a day at the
time of his suicide?

A_ Ihave said that we only have
indirect evidence that he was taking that.

Q_ Well, in your opinion, what dose
would it take for a patient to impulsively
commit suicide as a result of taking Neurontin?

MR. FINKELSTEIN: Objection.
THE WITNESS: I think you could see

this in somebody taking 300 milligrams a

day, depending on that person, the way

they metabolize the drug and what happens
when the drug gets to the brain.
BY MS. McGRODER:

Q. Are you aware of any evidence in the
peer reviewed literature or in the world that
Gabapentin, at 300 milligrams a day, causes
impulsive suicide?

 

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Page 273

Q You're talking about the FDA advisory
committee?

A Correct.

Q_ And you're calling them a review
body?

A High powered advisory body. Much
more discriminating than sending a paper to a
journal for peer review.

Q You understand, Dr. Trimble, that the
FDA advisory committee does not perform a peer
review function as, for example, the peer
review analysis that goes on, say in the
Journal of American Psychiatry? You.

Understand they are not performing that
function; right?

A I said it’s in many ways a more
superior critical review than you would get
through the peer review organization and
journals.

Q And you understand the function of
the FDA advisory committee was not to determine
whether the data could be published or not
published, or the rigor of the data, the
function was to answer certain questions put
them by the FDA -- you understand that; right?

  

"69 (Pages 270 to 273)

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1 IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
2
3 Continued
IN RE: Videotape
4 NEURONTIN MARKETING, SALES : Deposition of:
PRACTICES AND PRODUCTS
5 LIABILITY LITIGATION : MICHAEL TRIMBLE
6 ---------+--~- eee ee

7 THIS DOCUMENT RELATES TO:
8 Smith, et al. v Pfizer, et al.

9 Case No. 05-cv-11515-PBS

11

12

13 TRANSCRIPT of testimony as taken by and
14 before PATRICIA A. SANDS, a Shorthand Reporter
15 and Notary Public of the States of New York and
16 New Jersey, at the offices of Lanier Law Firm,
17 126 East 56th Street, New York, New York, on

18 Wednesday, September 3, 2008, commencing at

19 9:16 in the forenoon.

 

   

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, Page 453
BY MS. McGRODER:
~Q_ So you disagree with peer reviewed
published literature which states that there's
an independent association between chronic pain
condition and suicide ideation and suicide
attempts?

A You will have to place the peer

reviewed literature in front of me, please.
And let me have time to consider them.

Q_ Asyou sit here today, you don't know
whether you agree or disagree with the
statement that there is an independent
association between chronic pain conditions and
suicide ideation and suicide attempt?

A It's an independent association, not
a dependent association.

Q_ Correct. That's my question.

Do you agree or disagree with the
statement, as you sit here today, that there is
an independent association between chronic pain
conditions and suicide ideation and suicide
attempts?

A 1 would like to know who the quote
comes from before agreeing with it. What is
the authority of it.

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independent.

Q_ And that’s the part of it that you
don't agree with?

A Correct.

Q You agree that it’s a risk factor,
you just don't believe it's an independent risk
factor?

A Ihave said again and again that, in
and of itself, chronic pain does not predict
suicide. :
Q_ And so you disagree with literature
which states severe pain has one of the :
strongest associations with suicide, and is an
independent predictor of suicide?

A I would need to see the literature
that you are quoting and consider it.

MS. McGRODER: I'm marking as
Exhibit 22 to your deposition, and handing
to you, Professor Trimble --

(Exhibit 22 marked for
identification.)

THE WITNESS: Thank you.

BY MS. McGRODER: :

Q_ Anarticle entitled "Medical Illness :
and the Risk of Suicide in the Elderly". And

 

 

 

 

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Page 454
I'm just asking you generally --
Well, I disagree.
-- do you agree with the statement?
I disagree.
Okay. Do you agree or disagree with
the statement that insomnia might be an
indirect mechanism by which chronic pain is
associated with suicide ideation and suicide
attempt?

AI think it's -- I disagree.

Q_ Agree or disagree with the statement
that individuals suffering with high levels of
chronic pain may seek escape from their
suffering by considering or attempting suicide?

A_ I would agree with that statement.

Q_ I'msorry, you do agree?

A_ I do agree with that statement.

Q_ Agree or disagree that severe pain
has one of the strongest associations with
suicide, and is an independent predictor of
suicide?

A_ I believe I have answered I do not
agree with that. I am assuming by the term
"independent" you mean there are no other
factors involved whatsoever. That's

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WHE OW AN AMAWNHROUON AU BWNE

Page 456 |
the first author is Juurlink, J-U-U-R-L-I-N-K.

A Okay.

Q. And this is a 2004, June 14, 2004
publication of the Archives of Internal
Medicine, Volume 164.

A Thank you. (Referring to document.)

Q If you could start on page 1.

A Well, if I am to start anywhere, I
request time to read this through.

Q_ Absolutely.

A Thank you. (Reviewing document.) :

Q_ Are you prepared now to answer?

A I will be in just one --

Q Sure.

A (Reviewing document.) Yes, I have
now read this paper. Thank you very much.

Q_ Allright. If you will turn to the
front page of the paper, which is paginated
1179.

A Yes. This one?

Q_ Yes, I was just trying to check again
what exhibit reference we gave this -- 22,
thank you.

A Thank you.

Q_ On the top right column, do you see

 

 

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Page 501 Page 503
1 BY MS. McGRODER: 1 suicide? :
2 -Q Does the literature report as a 2 A Tamnot.
3 definition for impulsivity that the idea for 3 Q_ Reading this suicide note, is it now
4 the act of suicide occurs within 5 minutes of 4 clear to you why Mrs. Smith said to the medical
5 the suicide? 5 examiner that she did not want an autopsy,
6 A No, 6 because Mr. Smith did not want to be cut on any Ff
7 Q__ Did you fook at the literature on 7 more?
8 that? 8 A_ I'm just not certain of the link
9 A_ No, but I'm quite familiar with 9 between her statement in the autopsy report and §
10 impulsive behaviors. We have done research in 10 the suicide note. In other words, I'm not
11 that area. 11 quite sure of the link between the two. I E
12 Q__ Did you look at the literature on 12 mean, he may have expressed an opinion before
13 impulsive suicide behaviors? 13 this suicide note about not having further
14 A_ Not especially. 14 operations.
is Q_ The behaviors you're referring to are 15 Q_ And so do you think it's coincidence
16 aggression? 16 that Mrs. Smith says "Richard's final wishes :
17 A_ Aggressive behaviors, impulsive motor 17 were not to be ‘cut’ on any more"?
18 behaviors, obsessive compulsive behaviors. 18 A Well, if she's referring to this
19 These kind of thing. 19 document, then I accept that. But we have to
20 Q Is obsessive compulsive behavior 20 just recall that he had expressed concern about
21 impulsive? 21 having further surgery before, that was all.
22 A _In-certainly can be. 22 Q_ And so when Mr. Smith says "I don't
23 Q_ And then the other one, apart from 23 want to be cut on any more", is that a
24 aggression, I think you said was impulsive 24 reference, in your opinion, to future
25 motor disorders? 25 surgeries?
Page 502 Page 504 F
1 A In this country it's called Tourette 1 A That is certainly a possibility.
2 syndrome, T-O-U-R-E-T-T-E syndrome, that people | 2 Q _sItis it more likely than not that :
3 have compulsive and impulsive behaviors. 3 that's what he's referring to? :
4 Q_ And with Tourette syndrome, in your 4 A Itis likely that that is what he is :
5 clinical practice is that considered part of 5 referring to.
6 your movement disorder practice? 6 MS. McGRODER: Let's take a 3 minute :
7 A Oh, yes. 7 break.
8 Q. Okay. And so apart from impulsivity 8 THE VIDEO OPERATOR: Please standby.
9 associated with those behaviors, movement 9 We are going off the record, the time
10 disorder or obsessive compulsive or aggression, 10 is 1:23 p.m.
11 have you, in fact, studied the literature on li (Recess.) :
12. impulsive suicide behavior? 12 THE VIDEO OPERATOR: Please standby.
13 A_ Not specifically on impulsive suicide 13 We are back on the record, the time
14 behavior. 14 is 1:31 p.m.
15 Q_ And you are not an expert in suicide 15 BY MS. McGRODER:
16 behavior? 16 Q_ Are you aware, Professor Trimble,
17 A Tamnota suicidologist, that is 17 that Mr. Smith laid a plastic sheet out on the
18 correct. 18 bed to prevent the soiling of the bed with
19 Q_ And so you are not an expert in 19 biohazard material before his suicide?
20 impulsive suicide behavior? 20 MR. FINKELSTEIN: Objection.
21 A __ By definition. 21 THE WITNESS: No, I'm not. I was not
22 Q_ So you're not aware that the 22 aware,
23 = literature on impulsive suicide provides a 23 THE VIDEO OPERATOR: Professor, your
24 = definition of 5 minutes between the initiation 24 mic.
25 of the thought of suicide and the actual 25 THE WITNESS: No, I was not aware.

 

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Page 505 Page 507
1 BY MS. McGRODER: 1 this case? i
2 -Q_ Were you aware, Professor Trimble, 2 A Idon't believe so. :
3 that Mr. Smith locked his bedroom door before 3 Q So if you saw photographs, they were
4 killing himself? 4 part of the report? I ask only because I
5 A I was aware. 5 haven't seen photographs in connection with
6 Q You were aware of that fact? 6 Dr. Maris's report.
7 A I was aware of that fact. 7 A I might be mistaken on this matter.
8 Q_ And did that fact have significance 8 But let me answer your question, It makes no
9 to your opinion in this case? 9 difference in what I have or haven't seen in
10 A_ Not particularly. 10 terms of me formulating an opinion.
11 Q___ Does the fact that he laid a plastic 11 Q You don't care what the scene looked
12 sheet out on the bed to prevent the bed from 12 like at the time of the suicide in the Smith
13 becoming soiled, does that have significance to 13 case?
14 your opinion in this case? 14 A I'mnot saying don't care, it's not
15 A No. 15 relevant to an understanding of why Mr. Smith
16 Q_ Were you aware that prior to his 16 killed himself when he did. And not being a
17 suicide, Mr. Smith Jaid out his personal 17 _suicidologist, the concern about the scene
18 effects on the dresser of the bedroom where he 18 would be something that Dr. Maris would be
19 committed suicide? 19 discussing in more detail.
20 A I'm aware he laid out some effects, 20 Q Is the suicide note relevant to your
21 but I don't know exactly what they were. 21 opinion about why Mr. Smith did what he did?
22 Q__ Did you see photographs of the 22 A Itis.
23 effects that he left on the dresser before his 23 MS. McGRODER: I'm going to hand :
24 suicide? 24 you -- I'm sorry, this is the only copy we
25 A_ No, I don't think I did. 25 brought of a photograph of Mr. Smith's
Page 506 Page 508 §
1 Q_ Have you seen any photographs related 1 dresser that came from the police report
2 to the suicide in this case? 2 file.
3 A_ No, I don't think I have. 3 And, again, I apologize, it's not a
4 Q__ Did you ask Mr. Finkelstein and his 4 very good photograph. We've marked it as
5 _ law firm for photographs from the police file? 5 Exhibit 26 to your deposition.
6 A No. 6 (Exhibit 26 marked for
7 Q_ Are photographs of the suicide scene 7 identification.)
8 relevant or irrelevant to your opinion in this 8 BY MS. McGRODER:
9 case? 9 Q Have you ever seen a photograph like
10 A I'm just trying to recall some 10 that?
11 images. I believe Dr. Maris included some ii A No.
12 images in his report, so I would have seen some 12 Q What I want to ask you about that
13 images in that suicide autopsy. 13 photograph is: Do you see the pamphlet on the
14 But as we speak, I cannot say exactly what 14. dresser in the top right-hand corner, or
15 they were. 15 thereabouts, that has in big letters the word
16 Q_ So you believe within the text of 16 "pain"?
17 Dr. Maris's report there are photographs? 17 A Yes.
18 A_ I don't want to be -- I have seen 18 Q_ And do you see -- I recognize it's
19 something in relationship to this, but I just, 19 difficult to see in that photograph.
20 I honestly don't know what it is, and it is not 20 Do you see that the word "pain" is
21 relevant to my opinion in this matter. 21. circled? :
22 Q Other than Dr. Maris's report and the 22 A No. :
23 psychological autopsy from Mr. Maris, have you 23 Q_ I want you to assume with me that the :
24 seen any other materials that are part of 24 word "pain" is circled.
25 Dr. Maris's analysis of Mr. Smith's suicide in 25 A Yes, I think -- yes, I accept that.

 

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Page 525 Page 527
1 A Yes. 1 Q_ Two days ago? :
2 Q_ Does not appear to be the same list 2 A This particular list was done prior
3 that you have on page 11 of your report. 3 to these discussions. :
4 A Well, it's shorthand. 4 Q Prior to your deposition?
5 Q_ And the list that you, you told me 5 A Yeah, prior to our deposition, just :
6 yesterday on page 11 of your report, that fist 6 for me to have, as I got down here, a list of ;
7 contains those factors you considered the 7 _ all of the other things that Mr. Smith went :
8 highest risk factors for suicide when you did 8 through. ;
9 your differential diagnosis. 9 Q_ Well, we are not talking about those
10 My question is -- 10 now, we're talking about page 12. And all 1 :
11 A Yes. 11 want to know is: :
12 Q_ What is this list in your notes on 12 Why did you create this list? That’s the :
13 page 12? 13 first thing I want to know.
14 A Just a shorthand to remind me if I'm 14 And the second thing I would like to know
15 asked about differential diagnosis, did I have 15 is why is this list different from the list on :
16 these things written down. But this is not 16 page 11 of your report? :
17 relevant to this report, it's a shorthand 17 A_ No reason at all.
18 memento. 18 Q__ Did you not have your report with you
19 Q_ What is it relevant to? 19 when you created the list on page 12?
20 A_ To my brain. 20 A That is correct.
21 Q_ Was this prepared for the Smith case? 21 Q_ So were you creating this list of
22 A These were jottings that I made in 22 differential diagnosis on page 12 just out of
23 the airplane and in the park. 23 memory?
24 Q Is there a reason why these jottings 24 A Just out of jottings, but it's
25 are different from those in your report? 25 actually an incomplete one. But you can go
Page 526 Page 528 |
1 A Well, because -- 1 through it, if you like. :
2 Q_ For purposes of your differential 2 Q_ Well, I'm just trying to understand p
3 diagnosis? 3 why the lists are different, because I really
4 A When I made these jottings I hadn't 4 need to know what you did for purposes of your
5 got my report side by side. But this are just 5 differential diagnosis in this case.
6 anaid memoir for myself, it has no relevance 6 A Well, I think --
7 to this report. 7 Q_ So should I, should I understand that
8 Q_ Oh, so in the plane did you say you 8 your differential diagnosis is as set forth in
9 prepared these notes on page 12 in the plane on 9 your report?
10 the way over here? © 10 A Correct. :
11 A Some were prepared in the airplane, 11 Q_ And nothing else? :
12 some were prepared in London before I came 12 A Correct.
13 here, some were prepared in New York. 13 Q_ So the list you created on page 12 :
14 Q_ The notes on page 12, were these all 14 does not contain any opinions that you have in
15 prepared at one time? Just this page. 15 the Smith case in terms of what should or
16 A Iuse different pens, so I just can't 16 shouldn't go on the differential diagnosis
17__ tell you why didn't I have the same pen. I 17 list?
18 don't know. Maybe I dropped it. I don't know. 18 A Correct.
19 ButI can't -- 19 Q_ Andis there a reason why you put
20 Q_ When did you prepare this list on 20 dementia on this list on page 12, but you did
21 page 12? 21 not put dementia on your list in your report at
22 A_ This was done when I was in New York. 22 page 11?
23 Q_ This was done when you got here for 23 A Dementia is clearly in my report.
24 _ this deposition? 24 Q_ Noton page 11.
25 A Well, I -- 25 A Well, maybe you should turn to

 

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Page 529 Page 531
1 page 12. 1 than it is living alone? :
2 Q_ Well, we are talking about page 11. 2 A It would be, yes.
3 On page 11 of your report, if you recall 3 Q _Isliving alone a higher risk factor
4 yesterday you told me that this is how you did 4 for suicide than hopelessness?
5 your differential diagnosis, and these are the 5 A Ido not know.
6 4 highest risk factors for suicide. 6 Q Is living alone a higher risk factor
7 A Well, the differential diagnosis is 7 for suicide than severe chronic pain?
8 on page 12. And we went through that 8 A I donot know.
9 yesterday. 9 Q Is living alone a higher risk factor
10 Q_ Okay, so -- 10 for suicide than a prior diagnosis of
11 A_ And at the top is dementia. 11 depression with suicidal ideation?
12 Q_ Okay. So you considered dementia as 12 A I donot know.
13 _ part of your differential diagnosis? 13 Q__Do you think it would be?
14 A Idid. 14 A_ I prefer not to guess.
15 Q You just don't consider dementia as 15 Q_ Well, does the literature discuss
16 one of the top four highest risk factors -- 16 depression as the highest risk factor for
17 So you considered dementia in terms of 17 suicide?
18 your differential diagnosis? 18 A Itis depression, with -- I think you
19 A Correct. 19 said depression with suicidal ideation.
20 Q But you did not consider dementia one 20 Q Yes.
21 of the top 4 highest risk factor for suicide as 21 A Sol would accept that as probably
22 represented on page 11 of your report? 22 greater on the list than living alone.
23 A Correct. 23 Q_ There is no evidence in this case, is
24 Q_ Okay, I'm with you now. 24 there, Professor Trimble, that Mr. Smith had a
25 A That's correct. 25 history of aggressive behavior?
Page 530 Page 53
1 Q Looking at the risk factors that you 1 A Correct.
2 put in your report on page 11. 2 Q_ There is no evidence in this case
3 A Yes. 3 that Mr. Smith had a history of becoming
4 Q_ I want to ask you, Professor Trimble, 4 involved in physical altercations or fights;
5 __ is living alone a higher risk factor for 5 correct? .
6 suicide than saying I wish I could die because 6 A Correct.
7 of pain? 7 Q How many times total did a physician
8 MR. FINKELSTEIN: Objection. 8 suggest to the Smith family or Mr. Smith, that
9 THE WITNESS: I have no idea if 9 he be evaluated by a psychiatrist?
10 anybody has done a comparative study. 10 A To my knowledge, only once.
11 BY MS. McGRODER: 11 Q_ You're aware, Professor Trimble, that
12 = Q_ Okay. Let me ask it this way: Is 12 once on May 2nd, 2003 Dr. McCombs office
13 _ living alone a higher risk factor for suicide 13 received a phone call from Mr. Smith's family
14 than suicidal ideation? 14 stating that -- this is from his daughter --
15 A_ Ido not know if anybody has done a 15 A Yes.
16 study to look at the different frequencies of 16 Q Stating that he wished he could die
17 those two. 17 because of the pain. Do you recall that --
18 Q__In the suicide literature, is suicide 18 A That's correct.
19 ideation a risk factor for suicide? 19 Q_ -- instance?
20 A_Itis. 20 A That's correct.
21 Q_ And is it addressed more often than 21 Q_ And the doctor's office suggested
22 living alone? 22 that he go to an ER to be evaluated by a
23 A Addressed by whom? 23 __ psychiatrist?
24 Q In the literature, is it addressed 24 A That's correct.
25 more often as a high risk factor for suicide 25 Q Do you recall that?

 

    

49 (Pages 529 to 532)

 

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